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IN THE UNITED sTATES DISTRICT coURT 06
FOR THE wEsTERN DISTRICT oF TENNESSEE GS ii l
wEsTERN DIvIsION ' rs ;,- z 1

 

 

MARY BRUNSON,

Plaintiff,

Civil No. 04-2782 DP

FEDERATED DEPARTMENT STORES, et
al.,

Defendants.

 

ORDER TEMPORARILY STAYING DISCOVERY

 

Before the court is Defendants’ motion for protective order,
filed March 31, 2005. On April 25, 2005, the Court held a hearing
on the motion. Counsel for all parties Were present and heard. At
the hearing, the parties informed the Court that plaintiff and
defendants each have filed a dispositive motion on all issues in
this lawsuit. For good cause shown, the Court hereby orders that
discovery be stayed until July l, 2005.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date
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This document entered on the docket Sheet in com iiance
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Honorable Bernice Donald
US DISTRICT COURT

